                 Case 23-11759-MFW             Doc 271       Filed 01/05/24        Page 1 of 15




                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

    In re:                                             )    Chapter 11
                                                       )
    UNCONDITIONAL LOVE INC., et al.,1                  )    Case No. 23-11759 (MFW)
                                                       )
                                                       )    (Jointly Administered)
                         Debtors.                      )
                                                            Objection Deadline: January 26, 2024 at 4:00 p.m.
                                                            Hearing Date: To be scheduled if necessary




               FIRST MONTHLY APPLICATION FOR COMPENSATION
                     AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
          TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
         THE PERIOD FROM NOVEMBER 6, 2023 THROUGH NOVEMBER 30, 2023

    Name of Applicant:                                      Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services             The Official Committee of Unsecured
    to:                                                     Creditors
                                                            Effective as of November 6, 2023 by order
    Date of Retention:
                                                            signed December 27, 2023
    Period for which Compensation and                       November 6, 2023 through November 30,
    Reimbursement is Sought:                                20232
    Amount of Compensation Sought as Actual,
                                                            $27,699.50
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought as
                                                            $    248.40
    Actual, Reasonable and Necessary:

This is a:         ☒monthly          ☐ interim       ☐final application.

                   The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $1,500.00.



1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
numbers, are: Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd., Suite B200,
Pacific Palisades, CA 90272.
2
  The applicant reserves the right to include any time expended in the time period indicated above in future
application(s) if it is not included herein.


DE:4860-2714-9978.1 88119.00001
                 Case 23-11759-MFW            Doc 271     Filed 01/05/24   Page 2 of 15




                                      PRIOR APPLICATIONS FILED

    Date           Period Covered           Requested       Requested      Approved        Approved
    Filed                                     Fees          Expenses         Fees          Expenses

No prior fee applications have been filed.



                                         PSZ&J PROFESSIONALS

         Name of                      Position of the Applicant,      Hourly   Total         Total
       Professional                   Number of Years in that         Billing  Hours      Compensation
        Individual                    Position, Prior Relevant         Rate    Billed
                                   Experience, Year of Obtaining    (including
                                    License to Practice, Area of     Changes)
                                              Expertise
 Laura Davis Jones                Partner 2000; Joined Firm 2000;   $1,745.00     2.00       $ 3,490.00
                                  Member of DE Bar since 1986
 Peter J. Keane                   Of Counsel 2018; Member of PA     $1,025.00     1.60       $ 1,640.00
                                  Bar since 2008; Member of DE
                                  &NH Bars since 2010
 Edward A. Corma                  Associate 2022; Member of NJ      $ 725.00     24.40       $17,690.00
                                  Bar since 2018; Member of PA
                                  Bar since 2019; Member of DE
                                  Bar since 2020
 Melissa N. Flores                Paralegal                         $ 545.00      5.60       $ 3,052.00
 Andrea R. Paul                   Case Management Assistant         $ 425.00      1.10       $ 467.50
 Charles J. Bouzoukis             Case Management Assistant         $ 425.00      3.20       $ 1,360.00

                                         Grand Total:      $27,699.50
                                         Total Hours:           37.90
                                         Blended Rate:       $730.86




DE:4860-2714-9978.1 88119.00001                       2
                 Case 23-11759-MFW           Doc 271       Filed 01/05/24        Page 3 of 15




                                  COMPENSATION BY CATEGORY

                Project Categories                           Total Hours                    Total Fees
    Asset Disposition                                                        4.30                 $3,597.50
    Bankruptcy Litigation                                                   13.60                 $9,998.00
    Case Administration                                                      4.90                 $2,922.50
    Claims Administration and Objections                                     0.20                 $ 145.00
    Other Professional Compensation                                          0.40                 $ 218.00
    Contract and Lease Matters                                               0.10                 $ 72.50
    Financing/Cash Collateral/Cash                                          11.30                 $8,192.50
    Management
    Meetings of and Communications with                                      0.10                  $     72.50
    Creditors
    PSZJ Retention                                                           3.00                  $2,481.00



                                         EXPENSE SUMMARY

          Expense Category                              Service Provider3                         Total
                                                         (if applicable)                         Expenses
    Court Fees                           USDC                                                       $ 25.00
    Pacer - Court Research                                                                          $ 73.90
    Reproduction Expense                                                                            $149.50




3
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


DE:4860-2714-9978.1 88119.00001                        3
                 Case 23-11759-MFW             Doc 271       Filed 01/05/24        Page 4 of 15




                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

    In re:                                             )    Chapter 11
                                                       )
    UNCONDITIONAL LOVE INC., et al.,1                  )    Case No. 23-11759 (MFW)
                                                       )
                                                       )    (Jointly Administered)
                         Debtors.                      )
                                                            Objection Deadline: January 26, 2024 at 4:00 p.m.
                                                            Hearing Date: To be scheduled if necessary




               FIRST MONTHLY APPLICATION FOR COMPENSATION
                     AND REIMBURSEMENT OF EXPENSES OF
               PACHULSKI STANG ZIEHL & JONES LLP, AS COUNSEL
          TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR
         THE PERIOD FROM NOVEMBER 6, 2023 THROUGH NOVEMBER 30, 2023

                   Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”) and the Court’s “Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals,” signed on or about November 18, 2023 (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZ&J” or the “Firm”), counsel

to the Official Committee of Unsecured Creditors (the “Committee”), hereby submits its First

Monthly Application for Compensation and for Reimbursement of Expenses for the Period from

November 6, 2023 through November 30, 2023 (the “Application”).

                   By this Application PSZ&J seeks a monthly interim allowance of compensation

in the amount of $27,699.50 and actual and necessary expenses in the amount of $27,947.90 for


1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification
numbers, are: Unconditional Love Inc. d/b/a Hello Bello (5895), Unconditional Love Canada, Inc., and The Best
Training Pants in the World Inc. (9369). The Debtors’ headquarters is located at 17383 Sunset Blvd., Suite B200,
Pacific Palisades, CA 90272.


DE:4860-2714-9978.1 88119.00001
                 Case 23-11759-MFW            Doc 271     Filed 01/05/24    Page 5 of 15




a total allowance of $248.40 and payment of $22,159.60 (80% of the allowed fees) and

reimbursement of $248.40 (100% of the allowed expenses) for a total payment of

$22,408.00178,634.85 for the period November 6, 2023 through November 30, 2023 (the “Fee

Period”):

                                                Background

                   1.        On October 23, 2023, the Debtors commenced these cases by filing

voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors continue in

possession of their property and continue to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the Debtors’ chapter 11 cases. An official committee of

unsecured creditors was appointed in these cases on or about November 3, 2023.

                   2.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                   3.        On or about November 18, 2023, the Court signed the Administrative

Order, authorizing certain professionals (“Professionals”) to submit applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

The Administrative Order provides, among other things, that a Professional may submit monthly

fee applications. If no objections are made within twenty-one (21) days after service of the

monthly fee application the Debtors are authorized to pay the Professional eighty percent (80%)

of the requested fees and one hundred percent (100%) of the requested expenses. Beginning

with the period ending January 31, 2024, and at three-month intervals or such other intervals



DE:4860-2714-9978.1 88119.00001                       2
                 Case 23-11759-MFW            Doc 271     Filed 01/05/24    Page 6 of 15




convenient to the Court, each of the Professionals may file and serve an interim application for

allowance of the amounts sought in its monthly fee applications for that period. All fees and

expenses paid are on an interim basis until final allowance by the Court.

                   4.        The retention of PSZ&J, as counsel to the Committee, was approved

effective as of November 6, 2023 by this Court’s “Order Authorizing the Employment and

Retention of Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of

Unsecured Creditor Effective as of November 6, 2023,” signed on or about December 27, 2023

(the “Retention Order”). The Retention Order authorized PSZ&J to be compensated on an

hourly basis and to be reimbursed for actual and necessary out-of-pocket expenses.

                        PSZ&J’s APPLICATION FOR COMPENSATION AND
                             FOR REIMBURSEMENT OF EXPENSES

                                    Compensation Paid and Its Source

                   5.        All services for which PSZ&J requests compensation were performed for

or on behalf of the Committee, and not on behalf of any committee, creditor or other person.

                   6.        PSZ&J, and any partner, of counsel, or associate thereof, have received no

payment and no promises for payment from any source other than from the Debtors for services

rendered or to be rendered in any capacity whatsoever in connection with the matters covered by

this Application. There is no agreement or understanding between PSZ&J and any other person

other than among the partners, of counsel, or associates of PSZ&J for the sharing of

compensation to be received for services rendered in these cases.

                   7.        The professional services and related expenses for which PSZ&J requests

interim allowance of compensation and reimbursement of expenses were rendered and incurred


DE:4860-2714-9978.1 88119.00001                       3
                 Case 23-11759-MFW            Doc 271     Filed 01/05/24     Page 7 of 15




in connection with these cases in the discharge of PSZ&J’s professional responsibilities as

attorneys for the Committee in these chapter 11 cases. PSZ&J’s services have been necessary

and beneficial to the Committee, the Debtors and their estates, creditors and other parties in

interest.

                                               Fee Statements

                   8.        The fee statements for the Fee Period are attached hereto as Exhibit A.

These statements contain daily time logs describing the time spent by each attorney and

paraprofessional during the Fee Period. To the best of PSZ&J’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code and the Bankruptcy Rules.

PSZ&J’s time reports are initially handwritten by the attorney or paralegal performing the

described services. The time reports are organized on a daily basis. PSZ&J is particularly

sensitive to issues of “lumping” and, unless time was spent in one time frame on a variety of

different matters for a particular client, separate time entries are set forth in the time reports.

PSZ&J’s charges for its professional services are based upon the time, nature, extent and value

of such services and the cost of comparable services other than in a case under the Bankruptcy

Code. PSZ&J has reduced its charges related to any non-working “travel time” to fifty percent

(50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                   9.        A summary of actual and necessary expenses incurred by PSZ&J for the

Fee Period is attached hereto as part of Exhibit A. PSZ&J customarily charges $0.10 per page



DE:4860-2714-9978.1 88119.00001                       4
                 Case 23-11759-MFW            Doc 271     Filed 01/05/24     Page 8 of 15




for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZ&J summarizes each client’s photocopying charges on a daily basis.

                   10.       PSZ&J charges $0.25 per page for out-going facsimile transmissions.

There is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for

the machines, supplies and extra labor expenses associated with sending telecopies and is

reasonable in relation to the amount charged by outside vendors who provide similar services.

PSZ&J does not charge the Committee for the receipt of faxes in these cases.

                   11.       With respect to providers of on-line legal research services (e.g., LEXIS

and WESTLAW), PSZ&J charges the standard usage rates these providers charge for

computerized legal research. PSZ&J bills its clients the actual amounts charged by such

services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

                   12.       PSZ&J believes the foregoing rates are the market rates that the majority

of law firms charge clients for such services. In addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the

ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and

other charges.

                                      Summary of Services Rendered




DE:4860-2714-9978.1 88119.00001                       5
                 Case 23-11759-MFW           Doc 271     Filed 01/05/24    Page 9 of 15




                   13.       The names of the partners and associates of PSZ&J who have rendered

professional services in these cases during the Fee Period, and the paralegals and case

management assistants of PSZ&J who provided services to these attorneys during the Fee Period,

are set forth in the attached Exhibit A.

                   14.       PSZ&J, by and through such persons, has prepared and assisted in the

preparation of various motions and orders submitted to the Court for consideration, advised the

Committee on a regular basis with respect to various matters in connection with the Debtors’

bankruptcy cases, and performed all necessary professional services which are described and

narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of

the Debtors’ bankruptcy cases.

                                     Summary of Services by Project

                   15.       The services rendered by PSZ&J during the Fee Period can be grouped

into the categories set forth below. PSZ&J attempted to place the services provided in the

category that best relates to such services. However, because certain services may relate to one

or more categories, services pertaining to one category may in fact be included in another

category. These services performed, by categories, are generally described below, with a more

detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit

A identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

              A.         Asset Disposition



DE:4860-2714-9978.1 88119.00001                      6
                Case 23-11759-MFW            Doc 271       Filed 01/05/24   Page 10 of 15




                   16.       This category relates to work regarding sales and other asset disposition

issues. During the Fee Period, the Firm, among other things: (1) reviewed and analyzed issues

regarding an Asset Purchase Agreement; (2) attended to timing and deadline issues; (3) reviewed

and analyzed expedited sale process issues; (4) reviewed and analyzed bid procedures issues and

reviewed and analyzed a draft bid procedures objection; and (5) corresponded regarding asset

disposition issues.

                             Fees: $3,597.50;      Hours: 4.30

              B.         Bankruptcy Litigation

                   17.       This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Fee Period, the Firm, among other things: (1) reviewed and

analyzed case background and pending issues; (2) reviewed and analyzed case strategy issues;

(3) reviewed and analyzed a First Day declaration; (4) reviewed and analyzed issues regarding

Second Day motions and orders; (5) performed work regarding a motion to seal; (6) performed

work regarding Agenda Notices and Hearing Binders; and (7) corresponded and conferred

regarding bankruptcy litigation issues.

                             Fees: $9,998.00;      Hours: 13.60

              C.         Case Administration

                   18.       This category relates to work regarding administration of these cases.

During the Fee Period, the Firm, among other things: (1) performed work regarding pro hac vice

motions; (2) performed work regarding notice of appearance issues; (3) maintained a

memorandum of critical dates; and (4) maintained service lists.

                             Fees: $2,922.50;      Hours: 4.90


DE:4860-2714-9978.1 88119.00001                        7
                Case 23-11759-MFW             Doc 271     Filed 01/05/24    Page 11 of 15




              D.         Claims Administration and Objections

                   19.       This category relates to work regarding claims administration and claims

objections. During the Fee Period, the Firm, among other things, reviewed and analyzed bar date

issues.

                             Fees: $145.00;        Hours: 0.20

              E.         Other Professional Compensation

                   20.       This category relates to issues regarding the compensation of

professionals, other than the Firm. During the Fee Period, the Firm, among other things,

reviewed and analyzed issues regarding a professional compensation order.

                             Fees: $218.00;        Hours: 0.40

              F.         Contract and Lease Matters

                   21.       This category relates to issues regarding executory contracts and

unexpired leases of real property. During the Fee Period, the Firm, among other things,

reviewed and analyzed an objection to a lease rejection motion.

                             Fees: $72.50;         Hours: 0.10

              G.         Financing/Cash Collateral/Cash Management

                   22.       This category relates to work regarding Debtor in Possession (“DIP”)

financing and use of cash collateral, and cash management issues. During the Fee Period, the

Firm, among other things: (1) performed work regarding an objection to proposed DIP

financing; (2) performed research; (3) reviewed and analyzed budget issues; (4) reviewed and




DE:4860-2714-9978.1 88119.00001                       8
                Case 23-11759-MFW             Doc 271     Filed 01/05/24   Page 12 of 15




analyzed carve-out issues; (5) reviewed and analyzed a DIP credit agreement; and (6) conferred

and corresponded regarding financing issues.

                             Fees: $8,192.50;       Hours: 11.30

              H.         Meetings of and Communications with Creditors

                   23.       This category relates to issues regarding meetings of and communications

with creditors. During the Fee Period, the Firm, among other things, reviewed and analyzed a

meeting of creditors notice.

                             Fees: $72.50;          Hours: 0.10

              I.         PSZJ Retention

                   24.       This category relates to work regarding the retention of PSZJ. During the

Fee Period, the Firm, among other things, performed work regarding the PSZJ retention

application.

                             Fees: $2,481.00;       Hours: 3.00

                                             Valuation of Services

                   25.       Attorneys and paraprofessionals of PSZ&J expended a total 37.90 hours in

connection with their representation of the Committee during the Fee Period, as follows:

         Name of                      Position of the Applicant,       Hourly   Total         Total
       Professional                   Number of Years in that          Billing  Hours      Compensation
        Individual                    Position, Prior Relevant          Rate    Billed
                                   Experience, Year of Obtaining     (including
                                    License to Practice, Area of      Changes)
                                              Expertise
 Laura Davis Jones                Partner 2000; Joined Firm 2000;    $1,745.00      2.00       $ 3,490.00
                                  Member of DE Bar since 1986
 Peter J. Keane                   Of Counsel 2018; Member of PA      $1,025.00      1.60       $ 1,640.00
                                  Bar since 2008; Member of DE
                                  &NH Bars since 2010



DE:4860-2714-9978.1 88119.00001                       9
                Case 23-11759-MFW            Doc 271       Filed 01/05/24   Page 13 of 15




         Name of                     Position of the Applicant,        Hourly   Total          Total
       Professional                   Number of Years in that          Billing  Hours       Compensation
        Individual                    Position, Prior Relevant          Rate    Billed
                                   Experience, Year of Obtaining     (including
                                    License to Practice, Area of      Changes)
                                              Expertise
 Edward A. Corma                  Associate 2022; Member of NJ        $ 725.00      24.40       $17,690.00
                                  Bar since 2018; Member of PA
                                  Bar since 2019; Member of DE
                                  Bar since 2020
 Melissa N. Flores                Paralegal                           $ 545.00       5.60       $ 3,052.00
 Andrea R. Paul                   Case Management Assistant           $ 425.00       1.10       $ 467.50
 Charles J. Bouzoukis             Case Management Assistant           $ 425.00       3.20       $ 1,360.00

                                         Grand Total:        $27,699.50
                                         Total Hours:             37.90
                                         Blended Rate:         $730.86

                   26.       The nature of work performed by these persons is fully set forth in Exhibit

A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZ&J for the Committee during the Fee Period is

$27,699.50.

                   27.       In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZ&J has reviewed the

requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this

Application complies with such Rule and Order.

                   WHEREFORE, PSZ&J respectfully requests that the Court enter an order

providing that, for the period of November 6, 2023 through November 30, 2023, an interim



DE:4860-2714-9978.1 88119.00001                       10
                Case 23-11759-MFW      Doc 271      Filed 01/05/24    Page 14 of 15




allowance be made to PSZ&J for compensation in the amount of $27,699.50 and actual and

necessary expenses in the amount of $27,947.90 for a total allowance of $248.40 and payment of

$22,159.60 (80% of the allowed fees) and reimbursement of $248.40 (100% of the allowed

expenses) be authorized for a total payment of $22,408.00; and for such other and further relief

as this Court deems proper.

Dated: January 5, 2024               PACHULSKI STANG ZIEHL & JONES LLP


                                     /s/ Laura Davis Jones____________________
                                     Laura Davis Jones (Bar No. 2436)
                                     Edward A. Corma (DE Bar No. 6718)
                                     919 North Market Street, 17th Floor
                                     Wilmington, DE 19801
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400
                                     Email: ljones@pszjlaw.com

                                     Counsel to the Official Committee of Unsecured Creditors




DE:4860-2714-9978.1 88119.00001                11
                Case 23-11759-MFW            Doc 271     Filed 01/05/24     Page 15 of 15




                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                   Laura Davis Jones, after being duly sworn according to law, deposes and says:

                   a)        I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and have been admitted to appear before this Court.

                   b)        I am familiar with the work performed on behalf of the debtors and

debtors in possession by the lawyers and paraprofessionals of PSZ&J.

                   c)        I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about November 18,

2023 and believe that this Application substantially complies with such Rule and Order.



                                               /s/ Laura Davis Jones______________________
                                                          Laura Davis Jones




DE:4860-2714-9978.1 88119.00001
